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             EXHIBIT C
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                                                                       FILED: March 26, 2025


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              ___________________

                                                    No. 25-1189
                                               (1:25-cv-00333-ABA)
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        NATIONAL ASSOCIATION OF DIVERSITY OFFICERS IN HIGHER
        EDUCATION; AMERICAN ASSOCIATION OF UNIVERSITY PROFESSORS;
        RESTAURANT OPPORTUNITIES CENTERS UNITED; MAYOR AND CITY
        COUNCIL OF BALTIMORE, MARYLAND

                       Plaintiffs - Appellees

        v.

        DONALD J. TRUMP; DOROTHY FINK; DEPARTMENT OF HEALTH AND
        HUMAN SERVICES; DEPARTMENT OF EDUCATION; DENISE CARTER;
        DEPARTMENT OF LABOR; VINCENT MICONEI; DEPARTMENT OF
        INTERIOR; DOUG BURGUM; DEPARTMENT OF COMMERCE; JEREMY
        PELTER; DEPARTMENT OF AGRICULTURE; GARY WASHINGTON;
        DEPARTMENT OF ENERGY; INGRID KOLB; DEPARTMENT OF
        TRANSPORTATION; SEAN DUFFY; DEPARTMENT OF JUSTICE; JAMES
        MCHENRY; NATIONAL SCIENCE FOUNDATION; SETHURAMAN
        PANCHANATHAN; OFFICE OF MANAGEMENT AND BUDGET;
        MATTHEW VAETH

                       Defendants - Appellants

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        AMERICAN CENTER FOR LAW AND JUSTICE
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                        Amicus Supporting Appellant

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                                             ORDER
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                  For reasons appearing to the court, the court declines to hold the briefing

        schedule in abeyance. The schedule currently in place remains in full force and

        effect.

                                                 For the Court

                                                 /s/ Nwamaka Anowi, Clerk
